           Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 1 of 26




                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

MATTHEW CRISTOSTOMO, ANTHONY
BOLLINI, SPENCER VERRILLA, DERRICK
EVANS, CLIFTON BRADLEY, and
ROBERT KAMINSKY, individually and on
behalf of all others similarly situated,

                 Plaintiffs,                   Civil Action No. 1:21-CV-12095-FDS
      v.

NEW BALANCE ATHLETICS, INC.,

                 Defendant.


 DEFENDANT NEW BALANCE ATHLETICS, INC.’S MEMORANDUM OF LAW IN
 SUPPORT OF ITS MOTION TO DISMISS CLASS ACTION COMPLAINT AND TO
                STRIKE CERTAIN CLASS ALLEGATIONS




                                           1
             Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 2 of 26




                                                  TABLE OF CONTENTS

I.    PRELIMINARY STATEMENT ............................................................................................. 1
II. BACKGROUND ..................................................................................................................... 2
      A. New Balance Makes Millions Of Pairs Of Shoes In American Facilities..........................3
      B. To Resolve A Prior Class Action, New Balance Agreed To Court-Ordered Injunctive
         Relief Requiring Detailed Specification Of Product Origin. .............................................3
      C. Plaintiffs Bring This Follow-On Lawsuit, Ignoring New Balance’s Prominent
         Qualifications Of “Made in USA” Statements. ..................................................................6
III. LEGAL STANDARD ............................................................................................................. 9
IV. ARGUMENT ........................................................................................................................ 10
      A. Plaintiffs Fail To State A Plausible Claim Because They Do Not And Cannot Contest
         New Balance’s Compliance With Court-Ordered Measures That Properly Qualify Any
         “Made In USA” Statements. ............................................................................................10
      B. Plaintiffs’ Fraud-Based Claims Fail For The Additional Reason That Plaintiffs Cannot
         Satisfy Rule 9(b)’s Requirements.....................................................................................14
      C. Plaintiffs’ Warranty-Based Claims Fail For The Additional Reason That Plaintiffs Fail
         to Plead A Warranty Or Actionable Breach. ....................................................................16
      D. Plaintiffs’ Class Definitions Should Be Struck. ...............................................................18
V. CONCLUSION ..................................................................................................................... 20




                                                                   ii
             Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 3 of 26




                                                TABLE OF AUTHORITIES



                                                                                                                              Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................................9, 16

In re Bluetooth Headset Prods. Liab. Litig.,
    654 F.3d 935 (9th Cir. 2011) ...................................................................................................11

Brown v. Nationscredit Fin. Servs. Corp.,
   32 So. 3d 661 (Fla. Dist. Ct. App. 2010...................................................................................20

Brown v. Showtime Networks, Inc.,
   394 F. Supp. 3d 418 (S.D.N.Y. 2019)......................................................................................13

Collette v. Sig Sauer, Inc.,
   No. 21-11392-FDS, 2021 WL 6052613 (D. Mass. Dec. 21, 2021) .........................................18

Collins v. PJW Servs., LLC,
   No. A-1437-19, 2021 WL 3136127 (N.J. Super. Ct. App. Div. July 26, 2021) ......................20

Dashnaw v. New Balance Athletics, Inc.,
   No. 17-cv-159-L(JLB), 2018 WL 6168272 (S.D. Cal. Nov. 26, 2018)...................................12

Dashnaw v. New Balance Athletics, Inc.,
   No. 17-cv-159-L(JLB), 2019 WL 313079 (S.D. Cal. Jan 24, 2019) .........................................6

Dashnaw v. New Balance Athletics, Inc.,
   No. 17-cv-159-L(JLB), 2019 WL 3413444 (S.D. Cal. July 29, 2019) ................................6, 11

eBay Inc. v. MercExchange, L.L.C.,
   547 U.S. 388 (2006) .................................................................................................................12

Floyd v. Am. Honda Motor Co.,
   966 F.3d 1027 (9th Cir. 2020) .................................................................................................19

Gen. Tel. Co. of Sw. v. Falcon,
   457 U.S. 147 (1982) .................................................................................................................10

Highway Sales, Inc. v. Blue Bird Corp.,
   559 F.3d 782 (8th Cir. 2009) ...................................................................................................19




                                                                   iii
              Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 4 of 26




In re Sears, Roebuck & Co.,
    No. MDL-1703, 05 C 4742, 05 C 2623, 2006 WL 1443737(N.D. Ill. May 17,
    2006) ..................................................................................................................................17, 18

Juarez v. Select Portfolio Servicing, Inc.,
   708 F.3d 269 (1st Cir. 2013) ................................................................................................... 15

Kaufman v. Joseph,
   No. CV 16-11961-NMG, 2017 WL 2407258 (D. Mass. June 1, 2017)...................................19

Kowalski v. Gagne,
  914 F.2d 299 (1st Cir. 1990) ................................................................................................4, 10

Lifeway Foods, Inc. v. Millenium Prods., Inc.,
    No. CV 16-7099-R, 2016 WL 7336721 (C.D. Cal. Dec. 14, 2016) ........................................19

Lister v. Bank of Am., N.A.,
    790 F.3d 20 (1st Cir. 2015) ..................................................................................................9, 13

Manning v. Boston Med. Ctr. Corp.,
  725 F.3d 34 (1st Cir. 2013) ................................................................................................10, 18

Mazza v. Am. Honda Motor Co., Inc.,
  666 F.3d 581 (9th Cir. 2012) ...................................................................................................19

Monteferrante v. Williams-Sonoma, Inc.,
  241 F. Supp. 3d 264 (D. Mass. 2017) ......................................................................................19

Morse v. Fisher Asset Mgmt., LLC,
  206 A.3d 521 (Pa. Super. Ct. 2019) .........................................................................................20

MSP Recovery Claims, Series LLC and Series 17-04-631 v. Plymouth Rock
  Assurance Corp.,
  404 F. Supp. 3d 470 (D. Mass. 2019) ..........................................................................10, 18, 19

Mulder v. Kohl’s Dep’t Stores, Inc.,
   865 F.3d 17 (1st Cir. 2017) ..................................................................................................9, 14

Rodi v. S. New England Sch. of Law,
   389 F.3d 5 (1st Cir. 2004) ..................................................................................................2, 3, 8

Rosario v. M.D. Knowlton Co.,
   767 N.E.2d 1126 (Mass. App. Ct. 2002 ...................................................................................19

Siebring v. Hansen,
    346 F.2d 474 (8th Cir. 1965) ...................................................................................................11




                                                                       iv
              Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 5 of 26




Taupier v. Davol, Inc.,
   490 F. Supp. 3d 430 (D. Mass. 2020) ......................................................................................16

Thout v. Deutsche Bank Nat’l Trust Co.,
   369 F. Supp. 3d 318, 323 (D. Mass. 2019) ..............................................................................15

Wai Chu v. Samsung Elecs. Am., Inc.,
   No. 1:18-CV-11742-GHW, 2020 WL 1330662 (S.D.N.Y. Mar. 23, 2020) ............................20

Wilson v. HSBC Mortg. Servs., Inc.,
   744 F.3d 1 (1st Cir. 2014) ..........................................................................................................9

Statutes

15 U.S.C. § 2301 ............................................................................................................................17

15 U.S.C. § 2310 ............................................................................................................................19

Cal. Bus. & Prof. Code § 17208 ....................................................................................................19

Cal. Civ. Code § 1783 ....................................................................................................................19

Michigan Compl. Laws § 445.911(9) ............................................................................................19

U.C.C. § 2-313 .........................................................................................................................16, 18

Other Authorities

Fed. R. of Civ. P. 9(b) ...................................................................................................... 2, 9, 14-15

Fed. R. Civ. P. 23(b)(3)..................................................................................................................19




                                                                      v
             Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 6 of 26




I.      PRELIMINARY STATEMENT

        Plaintiffs are hiding the ball. The six named Plaintiffs in this class action all claim to have

 purchased, between January 2019 and November 2021, shoes sold by Defendant New Balance.

 They allege that these shoes “prominently claim to be ‘Made in USA’,” despite the fact that some

 of them “have as much as 30% of their components made outside of the United States.” Compl.

 ¶ 2, ECF No. 1. Plaintiffs seek to certify a sprawling nationwide class as well as six state-law

 subclasses of anyone—apparently at any time—who purchased certain models of New Balance

 shoes. And they assert claims sounding in breach of warranty, violation of consumer protection

 law, fraud, and false advertising.

        But this case has already happened. New Balance was previously sued in California federal

 court in Dashnaw v. New Balance Athletics, Inc. That case raised precisely the same legal

 theories based on precisely the same conduct purportedly at issue here. Even before Dashnaw,

 New Balance included qualifications of its “Made in USA” statements to reflect the foreign

 manufacture of certain components. And to resolve Dashnaw, New Balance agreed to injunctive

 relief—operative by January 2019—requiring it to take still additional steps to ensure that the

 qualification “domestic value of 70% or greater” is prominent enough to be seen by all

 consumers. Plaintiffs do not allege New Balance’s noncompliance with the injunction, thus

 implicitly conceding that New Balance makes all required qualifications to provide consumers

 with complete and accurate information. But neither do Plaintiffs allege that these qualified Made

 in USA statements are themselves actionable. They just reassert the very same contentions

 advanced in Dashnaw while disregarding the obvious—and judicially-noticeable—reality that

 that case resulted in a binding federal court injunction, properly issued upon a court’s

 determination that it would afford adequate relief to the class members in Dashnaw and the public

 at large.


                                                  1
             Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 7 of 26




          Plaintiffs’ complaint should be dismissed. Because it fails to address the Dashnaw

    injunction and its legal effects, the complaint neither states a plausible claim nor adequately

    apprises New Balance of the nature of the challenged conduct. Plaintiffs’ claims also fail for

    other reasons. Their fraud-based claims fail to plausibly allege either falsity or fraudulent

    intent—particularly in light of New Balance’s good-faith compliance with the Dashnaw

    injunction—and fail to allege fraud with the particularity required under Federal Rule of Civil

    Procedure 9(b).1 Plaintiffs’ warranty-based claims fail to plead any breach of the statement that

    New Balance’s products have “domestic value of 70% or greater,” and their Magnuson-Moss

    Warranty Act claim does not even plead a “written warranty” as that term is defined. And

    Plaintiffs’ class allegations must be struck in all events because the class definitions are overbroad

    and certain to contain class members whose claims are time-barred.

          New Balance has already litigated this class action once, agreeing to steps that ensure that

all of its “Made in USA” representations are appropriately qualified in a manner to give accurate

disclosure to all consumers nationwide. If future plaintiffs could simply ignore such wide-ranging

relief in pursuit of follow-on class actions like this one, it would discourage defendants from

settling such litigations at all. Consumers and defendants alike would be worse off. And the courts

would be clogged with discovery in speculative class actions that have no grounding in reality.

The motion should be granted.

II.       BACKGROUND

          All material aspects of the factual background recited below are drawn from the Complaint

in this action; “materials fairly incorporated within it”; and matters of public record on the docket

of Dashnaw, of which this Court may take judicial notice, Rodi v. S. New England Sch. of Law,



1
    All further references to Rules are to the Federal Rules of Civil Procedure.


                                                     2
             Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 8 of 26




389 F.3d 5, 12 (1st Cir. 2004).

        A.       New Balance Makes Millions Of Pairs Of Shoes In American Facilities.

        Established in 1906, New Balance is a Boston-based seller of athletic shoes and apparel.

Compl. ¶ 13; see generally New Balance, Responsible Leadership - Who We Are – Our Heritage,

https://www.newbalance.com/responsible-leadership/who-we-are.html?id=oh (last visited Feb.

21, 2022). For more than 75 years, New Balance has maintained manufacturing, production, and

distribution facilities in New England. Those facilities employ approximately 1,000 American

workers and produce millions of shoes each year. Id.; New Balance, Responsible Leadership –

Owned        Manufacturing   –    Made.   American.,     https://www.newbalance.com/responsible-

leadership/owned-manufacturing.html#ov (last visited Feb. 21, 2022).

        New Balance takes great pride in its continued commitment to American workers—

especially at a time when virtually all of its competitors have long-since moved the entirety of their

production operations overseas. And although New Balance must maintain some of its own

operations abroad in order to compete, it continues to feature footwear that is manufactured in its

American facilities. E.g., Compl. ¶¶ 19-27. Customarily, sneakers in these lines may include

indications like “Made in U.S.A.” on the labels on either side of the tongues of the shoes, or on

the shoe box. Compl. ¶¶ 20-24, 26-27. New Balance also touts the domestic origins of these shoes

on its website. Compl. ¶ 25. Although all of these shoes are manufactured in New Balance’s U.S.-

based facilities, some components of some of the shoes—for example, the soles—are made abroad,

imported, and ultimately incorporated into the shoe in the U.S. Compl. ¶ 35.

        B.       To Resolve A Prior Class Action, New Balance Agreed To Court-Ordered
                 Injunctive Relief Requiring Detailed Specification Of Product Origin.

        In late 2016, three named plaintiffs brought a putative class action against New Balance

that was litigated in federal district court in the Southern District of California, Dashnaw v. New



                                                  3
          Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 9 of 26




Balance Athletics, Inc., No. 3:17-cv-00159-L-JLB (S.D. Cal.).2 The Dashnaw complaint alleged

the same conduct that is alleged in this lawsuit.            Specifically, it alleged that “New

Balance … advertises that its shoes are made in the USA … even when up to 30 percent of the

value of the shoes is attributable to foreign-made components and/or labor.” Puzella Decl., Ex. 1

at ¶ 2 (First Amended Complaint ¶ 2, Dashnaw, ECF No. 16 (Feb. 20, 2017) (“Dashnaw Compl.”).

It highlighted “Made in U.S.A.” representations on the tongues of New Balance shoes, on shoe

boxes, and on New Balance’s website. Id. at ¶¶ 25-28. And it alleged that “[t]here are no

qualifications or disclosures regarding the Made in the USA claim[s].” Id. at ¶¶ 26-28.

       The Dashnaw plaintiffs alleged various California state-law causes of action, sounding in

California’s False Advertising Law, Consumer Legal Remedies Act, Unfair Competition Law,

Cal. Bus. & Prof. Code § 17533.7 concerning “Made in the U.S.A.” statements, breach of express

warranty, negligent misrepresentation, and unjust enrichment and restitution. Id. at 14-23. And

plaintiffs sought to certify a class of “All persons located within the State of California who

purchased any New Balance shoe model labeled or advertised as made in the United States at any

time beginning four (4) years prior to the filing of this action … and ending at the time this action

settles or proceeds to final judgment.” Id. ¶ 43.

       After over a year of discovery, and full briefing on the Dashnaw plaintiffs’ motion to certify

their putative class and on New Balance’s motion for judgment on the pleadings, the parties

reached a settlement. New Balance conceded no liability and maintained throughout the case,

without dispute, that it was already qualifying its “Made in USA” claims. Puzella Decl. Ex. 2

(Dashnaw, ECF No. 73 at 4 (New Balance’s Opposition to Class Certification). But to ensure




2
 We cite items from the docket in this action Dashnaw, ECF No. X. The contents of these records
are judicially noticeable. Kowalski v. Gagne, 914 F.2d 299, 305 (1st Cir. 1990).


                                                    4
           Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 10 of 26




utmost accuracy and avoid further litigation, New Balance agreed to both $750,000 in monetary

payments and injunctive relief that would ensure that all qualifications would be visible to all

consumers. See Puzella Decl., Ex. 3 (Amended Settlement Agreement, Dashnaw, ECF No. 117-

3 (June 21, 2019) (Dashnaw Settlement).

       Specifically, the settlement called for forward-looking injunctive relief requiring New

Balance, “for all ‘Made in USA’ Shoes … which contain less than 95% U.S. content,” to:

           Remove the phrase “Made in the USA” from the front of hangtags3 on the footwear;

           Include on the back of the hangtag, “in clear readable font,” the sentence “New Balance

            ‘made’ is a premium collection that contains domestic value of 70% or greater …

            unless and until a change in either federal or California law obviates the need for such

            clarification.”

           Remove the phrase “Made in the USA” from the top of shoe boxes.

           Qualify any representations on the side of shoe boxes with the same qualification above

            concerning “domestic value of 70% or greater unless and until a change in either federal

            or California law obviates the need for such clarification.”

           Qualify any representations on New Balance’s website with the same qualification

            concerning “domestic value of 70% or greater,” including accompanying “all banners

            saying ‘Made in USA’ or displaying a “Made in USA’ shoe where the ‘Made in USA’

            label is showing,” “the ‘Made in USA’ Shoe landing page,” and “all individual product

            display pages containing a ‘Made in USA’ Shoe.”

Puzella Decl., Ex. 3, Dashnaw Settlement at 12-14.


3
  A “hangtag” is “a tag attached to an article of merchandise giving information about its material
and proper care.” Merriam-Webster, “hangtag,” http://merriam-webster.com/dictionary/hangtag
(last visited, Feb. 21, 2022).


                                                 5
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 11 of 26




       After twice denying the plaintiffs’ motion to approve the settlement in order to ensure that

it adequately served the public interest, the district court certified a settlement class and approved

the settlement on January 24, 2019. See Dashnaw v. New Balance Athletics, Inc., No. 17-cv-159-

L(JLB), 2019 WL 313079, at *1-2 & n.1 (S.D. Cal. Jan 24, 2019); see also Puzella Decl. Ex. 4

(Order Granting Second Renewed Motion for Preliminary Approval of Settlement). In doing so,

the district court found that the relief agreed to by New Balance was “fair, reasonable, and

adequate” under Rule 23. See Dashnaw v. New Balance Athletics, Inc., No. 17-cv-159-L(JLB),

2019 WL 3413444, at *14 (S.D. Cal. July 29, 2019); see also Puzella Decl. Ex. 5 (Order Granting

Motion for Final Class Action Settlement Approval). No class member objected to the adequacy

of this injunctive relief before the district court approved it. Id. at *5. And the Dashnaw docket

reflects that no class member has ever returned to the district court to claim that New Balance has

failed to comply with the injunction.

       C.      Plaintiffs Bring This Follow-On Lawsuit, Ignoring New Balance’s Prominent
               Qualifications Of “Made in USA” Statements.

       Plaintiffs brought this materially identical case on December 20, 2021. It is based on the

same factual allegations advanced in Dashnaw—that “New Balances sells several models of

footwear that prominently claim to be ‘Made in USA,’” despite “hav[ing] as much as 30% of their

components made outside the United States.” Compl. ¶ 2. Like the Dashnaw plaintiffs, Plaintiffs

here highlight statements on the shoes themselves, the shoe boxes, and the New Balance website.

Compl. ¶¶ 20-27. And Plaintiffs here advance the same legal theories at issue in the California

state causes of action in Dashnaw, bringing claims under various sources of state and federal law

for breach of warranty, unjust enrichment, fraud, false advertising, unfair competition, and




                                                  6
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 12 of 26




violation of consumer protection statutes.4 Compl. ¶¶ 65-206.

       In addition, Plaintiffs include class allegations that allege a nationwide class of “all persons

in the United States who purchased the sneakers,” as well as state subclasses of purchasers in

California, Michigan, Pennsylvania, New Jersey, Florida, and New York. Compl. ¶¶ 51-57. With

one exception, the nationwide class and state subclasses contain no time limitation—they purport

to embrace every purchaser of the footwear at issue ever. Id. The exception is the California

subclass, which includes only purchasers after January 24, 2019—the date the district court

approved the Dashnaw settlement. Compl. ¶ 52.

       Apart from that implicit acknowledgement of Dashnaw, Plaintiffs confine their discussion

of the case to a single paragraph stating that New Balance “previously entered into a class action

settlement” but stating that New Balance “continues to make false and misleading ‘Made in the

USA’ claims on its Sneakers.”         Compl. ¶ 38.      Plaintiffs do not allege New Balance’s

noncompliance with the injunction in Dashnaw in any respect. Instead, they elliptically refer to

the court-ordered qualifications New Balance now includes, labeling them “disclaimers” and

deriding them as “small print language on the underside of a packaging or hid in assorted places

on a website.” Compl. ¶ 40. Without reprinting or depicting the qualifications in any way,

Plaintiffs simply allege in conclusory fashion that “no reasonable consumer would expect” or



4
 The counts are: (I) Breach of Express Warranty; (II) Violation of the Magnusson-Moss Warranty
Act, 15 U.S.C. §§ 2301, et. seq.; (III) Unjust Enrichment; (IV) Fraud; (V) Violation of the
California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq.; (VI) Violation of
California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et. seq.; (VII) Violation
of California’s False Advertising Law, Cal Bus. & Prof. Code §§ 17500, et. seq.; (VIII) Violation
of the Michigan Consumer Protection Act, Mich. Comp. Laws §§ 445.903, et seq.; (IX) Violation
of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1, et seq.;
(X) Violation of the New Jersey Consumer Fraud Act, N.J.S.A. §§56:8-1, et seq.; (XI) Violation
of the Florida Deceptive and Unfair Trade Practices Act, Fla. Sta. §§501.201, et seq.; (XII)
Violation of the New York General Business Law § 349; and (XIII) Violation of the New York
General Business Law § 350.


                                                  7
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 13 of 26




understand them. Id. They also claim that “the shoes themselves” do not contain qualified

statements, despite Dashnaw’s required qualified statements on the shoe’s hangtags and Plaintiffs’

conspicuous failure to allege noncompliance with that requirement. Id. ¶ 39.

       In at least one instance, however, material that is fairly incorporated into the complaint

confirms New Balance’s compliance with the Dashnaw injunction. Plaintiffs rest a portion of their

claims on New Balance’s website—including a screenshot of the “Footwear Made in the USA”

page—thereby incorporating the relevant aspects of the website into the complaint, Rodi, 389 F.3d

at 12. See Compl. ¶ 25; New Balance, Footwear Made in the USA, http://newbalance.com/made-

in-the-usa/?ICID=LP-LP_MADE_10802_MW (last visited Feb. 16, 2022).               Plaintiffs’ artful

screenshot of the “Footwear Made in the USA” page omits the following qualified statement in

the first paragraph of copy on that very page, in the same-sized typeface as the other text on the

page: “Meet the New Balance MADE Collection, a premium selection of New Balance shoes that

contain a domestic value of 70% or greater.” Id.; see also Puzella Decl. Ex. 7 (reprinting web

page). Similarly, Plaintiffs omit the repetition of the qualifications on each product page linked

from the page they screenshot, which state either (or both) of the following: “Manufactured in the

US for over 75 years and representing a limited portion of our US sales, New Balance Made is a

premium collection that contains domestic value of 70% or greater,” or “New Balance Made

contains a domestic value of 70% or more. Made makes up a limited portion of New Balance’s

US sales.” Puzella Decl. Ex. 8 (reprinting representative product pages).

       These types of statements are what FTC regulations—which Plaintiffs themselves cite in

the Complaint (at ¶ 30 n.3)—define as “Qualified U.S. Origin Claims.” See Federal Trade

Comm’n, Enforcement Policy Statement on U.S. Origin Claims (Dec. 1, 1997),

http://www.ftc.gov/public-statements/1997/12/enforcement-policy-statement-us-origin-claims




                                                8
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 14 of 26




(“FTC Enforcement Statement”). Plaintiffs nevertheless contend that New Balance engages in

“knowing[] and intentional[]” violation of FTC regulations concerning unqualified Made in USA

claims. Compl. ¶¶ 30-32. They seek damages of up to $500 per pair of shoes, unspecified

injunctive relief, and attorneys’ fees. Compl. 43-44.

III.   LEGAL STANDARD

       Motion to Dismiss. “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“Dismissal for failure to state a claim is appropriate if the complaint does not set forth factual

allegations, either direct or inferential, respecting each material element necessary to sustain

recovery under some actionable legal theory.” Lister v. Bank of Am., N.A., 790 F.3d 20, 23 (1st

Cir. 2015) (citing Lemelson v. U.S. Bank Nat’l Ass’n, 721 F.3d 18, 21 (1st Cir. 2013)). Although

the complaint is construed “in the light most favorable to the [plaintiffs],” the court need not “take

every single allegation at face value.” Wilson v. HSBC Mortg. Servs., Inc., 744 F.3d 1, 7 (1st Cir.

2014). The court can “consider documents incorporated by reference into the complaint and

matters of public record,” and may “disregard facts which have been conclusively contradicted by

[plaintiffs’] concessions or otherwise.” Lister, 790 F.3d at 23 (internal quotation marks omitted)

(alteration in original).    Moreover, for any “general claims of fraud and … associated

claims … where the core allegations effectively charge fraud,” a plaintiff must additionally satisfy

the heightened particularity requirements of Rule 9(b). Mulder v. Kohl’s Dep’t Stores, Inc., 865

F.3d 17, 21-22 (1st Cir. 2017) (internal citations and quotations omitted).

       Motion to Strike. Under Rule 12(f), a “court may strike from a pleading … any redundant,

immaterial, impertinent, or scandalous matter.” In a putative class action, “[s]ometimes the issues

are plain enough from the pleadings” to determine whether the class treatment proposed by the


                                                  9
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 15 of 26




named plaintiffs is appropriate. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982). “If it

is obvious from the pleadings that the proceeding cannot possibly move forward on a classwide

basis, district courts use their authority under [Rule] 12(f) to delete the complaint’s class

allegations.” Manning v. Boston Med. Ctr. Corp., 725 F.3d 34, 60 (1st Cir. 2013) (internal citations

omitted); see MSP Recovery Claims, Series LLC and Series 17-04-631 v. Plymouth Rock

Assurance Corp., 404 F. Supp. 3d 470, 484-85 (D. Mass. 2019) (identifying circumstances in

which striking class allegations is appropriate).

IV.    ARGUMENT

       A.      Plaintiffs Fail To State A Plausible Claim Because They Do Not And Cannot
               Contest New Balance’s Compliance With Court-Ordered Measures That
               Properly Qualify Any “Made In USA” Statements.

       The complaint fails in its entirety because its foundational contention—that New Balance

knowingly and intentionally makes unqualified claims that products are “Made in USA.”—is

contradicted by facts contained in the complaint, materials incorporated into the complaint, and

materials of which the Court may take judicial notice. It is beyond dispute that New Balance is

subject to ongoing, nationwide injunctive relief requiring prominent qualification of its Made in

USA statements to notify consumers of the nature of its domestic manufacturing. In the face of

that indisputable reality, Plaintiffs’ failure and inability to plead either New Balance’s non-

compliance with the injunction or to plead claims based on the qualified statements the injunction

requires leaves Plaintiffs with no plausibly articulated claim.

       The fact of the Dashnaw injunction and the legal effect of that ruling are properly before

the Court in this motion to dismiss, and they are irrefutable. Kowalski, 914 F.2d at 305 (noting

that it is “well-accepted that federal courts may take judicial notice of proceedings in other courts

if those proceedings have relevance to the matters at hand”). As explained above (at 6-7), the

Dashnaw plaintiffs brought virtually the same lawsuit Plaintiffs bring here, purporting to challenge


                                                    10
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 16 of 26




the use of the phrase “Made in USA,” allegedly without qualification. After discovery and

“aggressive[] litigat[ion]”—which in fact demonstrated that New Balance was already qualifying

any “Made in USA” statements—New Balance agreed to undertake still further steps to ensure

that all consumers would be accurately notified of the nature of New Balance’s domestic

manufacturing. This included removal of “Made in USA” statements in some instances and further

qualifications in others. Dashnaw, 2019 WL 3413444 at *6, 12; see also Puzella Decl. Ex. 5

(Order Granting Motion for Final Class Action Settlement Approval)

       This district court’s approval of that relief and entry of an injunction carries several

necessary legal implications. To begin with, the entry of a consent decree is a judicial act that

“possesses the same force and character as a judgment rendered following a contested trial.”

Siebring v. Hansen, 346 F.2d 474, 477 (8th Cir. 1965). Because Dashnaw was a class action,

moreover, the district court could approve the injunction only after a fairness hearing and a

determination that the settlement was “fair, reasonable and adequate”—an inquiry that the district

court conducted, per Ninth Circuit law, with an “even higher level of scrutiny” because settlement

was reached before the class was certified. Dashnaw, 2019 WL 3413444 at *6 (applying In re

Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 946-47 (9th Cir. 2011)); Puzella Decl. Ex. 5

(Order Granting Motion for Final Class Action Settlement Approval).

       In the context of a case alleging false advertising, moreover, the district court’s finding that

New Balance’s undertakings were adequate protected not only class members, but the public.

False advertising by definition—and, accordingly, as pled in Dashnaw—implicates

communications made by the defendant to the public at large. So too, of course, the Dashnaw

injunction prospectively commands the alteration of the content of those communications “for all

‘Made in USA’ Shoes.” Puzella Decl., Ex. 3, Dashnaw Settlement at 12. Throughout the




                                                 11
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 17 of 26




settlement approval process, the district court in Dashnaw was keenly focused on the public

interest, initially denying the parties’ proposed cy pres award absent a demonstration that the

“funds [would be] distributed for the purpose of protecting consumers from, or redressing injuries

caused by, false advertising.” Dashnaw v. New Balance Athletics, Inc., No. 17-cv-159-L(JLB),

2018 WL 6168272, at *1 (S.D. Cal. Nov. 26, 2018) (internal quotation marks omitted); see also

Puzella Decl. Ex. 6 (Order Denying Plaintiffs’ Renewed Motion for Preliminary Approval of Class

Certification). And of course, the appropriateness of any injunctive relief turns in part on the

consideration that “the public interest would not be disserved” by the injunction. eBay Inc. v.

MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

       At a minimum, then, the Dashnaw injunction represents a binding, duly issued judicial

order requiring future undertakings that presumptively address the legal wrongs alleged in that

case. And because of the injunction’s obvious factual and legal significance to the alleged course

of conduct in this case, the plausibility of Plaintiffs’ factual allegations depends heavily on how

they address New Balance’s compliance with its undertakings. Otherwise, Plaintiffs are alleging

that the room is empty without addressing the elephant in the corner.

       Yet Plaintiffs say scarcely a thing on this topic, including only the vague acknowledgment

that New Balance “previously entered into a class action settlement.” Compl. ¶ 38. Plaintiffs do

not allege New Balance’s noncompliance with the Dashnaw injunction—a consequential

omission, since New Balance’s compliance is readily ascertainable by simply evaluating the

content and context of New Balance’s public “Made in USA” statements. The only plausible

inference one could draw from this omission is that New Balance is indeed fully in compliance,

for example, by including its “domestic value of 70% or greater” statement on its shoes and

website. This in turn means that, as a matter of law, New Balance makes only what the FTC treats




                                                12
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 18 of 26




as “Qualified U.S. Origin Claims”—like the FTC’s own paradigmatic example, “60% U.S.

content.” FTC Enforcement Statement. But Plaintiffs do not even attempt to allege that New

Balance runs afoul of regulations pertaining to such qualified statements.

       Indeed, Plaintiffs do not seriously attempt to state any claim based on the qualified

statements New Balance makes as ordered by the Dashnaw injunction. At times, Plaintiffs seem

to suggest that New Balance’s disclosures are in “small print language,” “hid[den],” or not on “the

shoes themselves.” Compl. ¶ 39-40. But these are simply not plausible contentions in a Complaint

that fails to allege New Balance noncompliance with the Dashnaw injunction, which requires

qualifications “in clear readable font” and on hangtags on the footwear itself. Puzella Decl., Ex.

3, Dashnaw Settlement at 12-14. What is more, Plaintiffs base their claims in part on screenshots

of New Balance’s website—thereby incorporating it by reference—and that website flatly belies

any notion that New Balance’s qualifications are hidden or in small typeface. Supra at 8; see

Brown v. Showtime Networks, Inc., 394 F. Supp. 3d 418, 436 (S.D.N.Y. 2019) (where film was

incorporated in complaint, court “consider[ed] the film itself—not the parties’ characterizations of

what it shows”). So not only are Plaintiffs’ contentions implausible, they are “conclusively

contradicted” and therefore entitled to no weight. Lister, 790 F.3d at 23.

       Plaintiffs’ final tactic is to suggest that New Balance’s qualification “domestic value of

70% or greater” is “not curative” because New Balance “does not define the term ‘domestic

value.’” Compl. ¶¶ 40-41. But critically, Plaintiffs do not and cannot allege that New Balance’s

qualification is false, or even that a reasonable consumer would fail to appreciate it as a

qualification of the “Made in U.S.A.” statement. Just as importantly, Plaintiffs do not allege that

New Balance violates the FTC’s requirements for Qualified U.S. Origin Claims, instead claiming

only that New Balance violates regulations for unqualified claims. Nor could they, because there




                                                13
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 19 of 26




is no conceivable argument that New Balance’s “domestic value” qualification is any more vague

than the FTC’s paradigmatically permissible qualification of “65% U.S. Content.” Plaintiffs thus

offer no coherent theory of what New Balance represents and what Plaintiffs’ allegedly relied

upon, leaving New Balance without fair notice of the claims against it.

       In short, each of Plaintiffs’ claims fails because each is predicated on the implausible (and

contradicted) tale that New Balance—despite compliance with binding, nationwide injunctive

relief—makes unqualified Made in USA claims. Plaintiffs cannot survive a motion to dismiss by

pretending that the Dashnaw injunction and its real-world effects do not exist.

       B.      Plaintiffs’ Fraud-Based Claims Fail For The Additional Reason That Plaintiffs
               Cannot Satisfy Rule 9(b)’s Requirements.

       Most of Plaintiffs’ claims fail for the additional, independent reason that Plaintiffs have

failed to satisfy Rule 9(b)’s particularity requirement. It is well-settled in the First Circuit that

Rule 9(b) applies not only to “general claims of fraud” but also to “associated claims … where the

core allegations effectively charge fraud.” Mulder, 865 F.3d at 21-22. In Mulder, for example,

the First Circuit applied Rule 9(b) to claims under statutory consumer protection law, fraud, breach

of contract, and unjust enrichment theories because all were based on the plaintiffs’ allegation that

“she was ‘deceived by … advertising.”         Id. at 21.    Similarly, Plaintiffs’ claims of unjust

enrichment, fraud, and violation of various consumer protection or unfair competition laws are all

predicated on “Made in USA” statements made by New Balance with allegedly deceptive intent.

Compl. ¶¶ 82-203 (counts III-XIII). (The exceptions are Plaintiffs’ warranty-based claims, counts

I and II, which fail for additional independent reasons of their own. Infra 16-18.) Plaintiffs fail to

plead a viable claim under Rule 9(b) for several reasons.

       First, Plaintiffs fail to plead with particularity the content of New Balance’s representations

by which they were, allegedly, deceived. A fraud-based claim must “include specifics about the



                                                 14
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 20 of 26




time, place, and content of the alleged false representations.” Juarez v. Select Portfolio Servicing,

Inc., 708 F.3d 269, 280 (1st Cir. 2013) (internal citations and quotations omitted). But Plaintiffs

are demonstrably hiding the ball about the content of New Balance’s representations at particular

times and in particular contexts. Which advertising claims did Plaintiffs observe? Did the named

plaintiffs in this case observe the qualifications ordered by the Dashnaw injunction and not

understand them? Are they alleging that the qualifications were not there at all? If so, on what

dates, and in what locations, are Plaintiffs claiming the qualifications ordered in Dashnaw were

not included? Without the particulars of what representations Plaintiffs allege they relied upon,

New Balance cannot possibly have fair notice of the basis of the claims. And this problem is only

compounded by Plaintiffs’ putative class action, which threatens to devolve into thousands of

minitrials about who relied on what and when.

       Instead of the particularity required, Plaintiffs generally plead that “Defendant provided

Plaintiffs and members of the Classes with false or misleading material information about the

Sneakers, including but not limited to the fact that the Sneakers were ‘Made in the USA.’” Compl.

¶ 89 (emphasis added). “Including but not limited to” does not come close to satisfying Rule 9(b)’s

particularity requirement. In Thout v. Deutsche Bank Nat’l Trust Co., plaintiff “specifie[d] one

alleged instance ‘[a]mong others’ of a ‘concerted pattern of actions designed to fraudulently

confuse and obfuscate [its] actions and Plaintiff's rights and responsibilities.” 369 F. Supp. 3d

318, 323 (D. Mass. 2019) (emphasis in original) (internal citation omitted) (alterations in original).

The court determined that, “[s]ufice to say,” the plaintiff “failed to plead fraud with particularity.”

Id.

       Second, Plaintiffs fail to allege that New Balance’s qualified representations are false.

Because Plaintiffs neither contest that New Balance is in full compliance with the Dashnaw




                                                  15
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 21 of 26




injunction nor specifically describe how New Balance’s qualified representations are inaccurate,

they fail to allege that these qualifications are actually false.

        And third, for similar reasons, Plaintiffs cannot plausibly allege intent. It is implausible

that New Balance—having qualified its statements in accordance with the Dashnaw injunction

and remaining fully in compliance with those undertakings—simultaneously harbors the intent to

deceive customers and induce their reliance on its qualified statements. And while Plaintiffs

include conclusory allegations that New Balance “intentionally ma[de] false and misleading

statements,” they offer nothing to make that contention plausible. Although “intent … may be

alleged generally,” a plaintiff may not “plead the bare elements of his cause of action, affix the

label ‘general allegation,’ and expect his complaint to survive a motion to dismiss.” Iqbal, 556

U.S. at 687.

         The fraud-based claims (counts III through XIII) should therefore be dismissed.

        C.      Plaintiffs’ Warranty-Based Claims Fail For The Additional Reason That
                Plaintiffs Fail to Plead A Warranty Or Actionable Breach.

        Plaintiffs’ warranty claims (counts I and II) fail for additional independent reasons.

        U.C.C. § 2-313. Plaintiffs appear to allege claims under one or more state-law versions of

U.C.C. § 2-313, which applies to express warranties. Section 2-313 applies to “any affirmation of

fact or promise … which relates to the goods and becomes part of the basis of the bargain.” A

breach of express warranty claim is therefore “an action in contract.” Taupier v. Davol, Inc., 490

F. Supp. 3d 430, 437 (D. Mass. 2020) (internal quotation marks omitted). To sustain a claim, “the

plaintiff must demonstrate that the defendant promised a specific result and that defendant failed

to deliver on his promise.” Id. (internal quotation marks omitted).

        Plaintiffs have not plausibly alleged a § 2-313 claim. While they contend that New Balance

“expressly warranted that the Sneakers were ‘Made in the USA,’ as that term is defined by the



                                                   16
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 22 of 26




FTC,” Compl. ¶ 67, they concede that any such contentions were accompanied by a “disclaimer”

that the shoes “contain[ed] a domestic value of 70% or greater,” Compl. ¶ 39. If the former

statement qualifies as an express promise forming the basis of the bargain, so necessarily does the

latter qualification of that statement.5 A plaintiff cannot pick and choose the applicable terms of

an express warranty any more than it can do so for an ordinary breach-of-contract claim. And

because Plaintiffs do not and cannot allege that New Balance has breached its promise of

“domestic value of 70% or greater,” they fail to state a claim.

       Magnuson-Moss Warranty Act. Plaintiffs’ Magnuson-Moss Warranty Act (MMWA)

claim fails for the same reason: Plaintiffs concede that New Balance qualifies any alleged warranty

by specifying “domestic value of 70% or greater” and do not plead breach of that statement. The

claim also fails because nothing Plaintiffs plead—whether an unqualified or qualified “Made in

USA” statement—meets the MMWA’s definition of “written warranty.”

        Plaintiffs’ MMWA claim invokes 15 U.S.C. § 2301(6), which (as relevant here) defines a

“written warranty” as:

       any written affirmation of fact or written promise made in connection with the sale
       of a consumer product by a supplier to a buyer which relates to the nature of the
       material or workmanship and affirms or promises that such material or
       workmanship is defect free or will meet a specified level of performance over a
       specified period of time.

15 U.S.C. § 2301(6)(a) (emphasis added). Plaintiffs do not allege that New Balance “affirm[ed]

or promis[ed]” that its sneakers are “defect free” nor that they “will meet a specified level of

performance over a specified period of time.” As the court held in In re Sears, Roebuck & Co.,

the statement “Made in USA,” is like “other product description[s] that [do] not inform the



5
  New Balance assumes for purposes of this motion only that Plaintiffs relied upon New Balance’s
statements concerning domestic origin as a part of the basis of the bargain and as a warrant of a
material aspect of its footwear and reserves all rights to challenge those elements.


                                                17
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 23 of 26




customer that the [product] is defect-free or make any representation about performance.” No.

MDL-1703, 05 C 4742, 05 C 2623, 2006 WL 1443737, at *4 (N.D. Ill. May 17, 2006).

       This result accords with the great weight of authority on the scope of the MMWA. Courts

have recognized that the MMWA’s definition of written warranty is “more restrictive than the

definition of express warranty provided by the U.C.C.” Collette v. Sig Sauer, Inc., No. 21-11392-

FDS, 2021 WL 6052613, at *7 (D. Mass. Dec. 21, 2021). And they “have been wary about

expanding the definition of ‘written warranty’ and have narrowly construed the term.” Id. at *6

(internal citation omitted). Courts routinely dismiss MMWA claims that are based on mere

product description. See id. (collecting cases). And for its part, the FTC—the agency responsible

for policing Made in USA claims and for implementing rules under the MMWA—has never

suggested that Made in USA claims qualify as warranties subject to the MMWA. See Federal

Trade Comm’n, Complying with the Made in USA Standard, https://www.ftc.gov/tips-

advice/business-center/guidance/complying-made-usa-standard (last visited, Feb. 21, 2022). The

MMWA claim should therefore be dismissed.

       D.      Plaintiffs’ Class Definitions Should Be Struck.

       Finally, this Court should strike the putative nationwide class and the Michigan,

Pennsylvania, New Jersey, Florida, and New York subclasses. Courts strike class allegations

where it is “obvious from the pleadings” that they cannot form the basis for a class action.

Manning, 725 F.3d at 60. For example in MSP Recovery Claims, Series LLC and Series 17-04-

631 v. Plymouth Rock Assurance Corp., the district court struck class definitions that necessarily

included time-barred claims and that could not comply with Rule 23. 404 F. Supp. 3d at 484-85.

Here the class definitions are similarly defective.

       First, the only basis for Plaintiffs’ nationwide class is its MMWA claim for breach of

express warranty, so if that claim fails, Plaintiffs cannot sustain a nationwide class. It fails for the


                                                  18
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 24 of 26




substantive reasons discussed above (at 17-18). And even if Plaintiffs had adequately pled a

“written warranty,” they fail to meet the procedural requirements for an MMWA class action. The

MMWA provides that a class action is not cognizable if “the number of named plaintiffs is less

than one hundred.” 15 U.S.C. § 2310(d)(3)(C). Plaintiffs do not name 100 plaintiffs, so they fail

to comply. See Floyd v. Am. Honda Motor Co., 966 F.3d 1027, 1034 (9th Cir. 2020) (holding that

the Class Action Fairness Act does not circumvent MMWA’s jurisdictional requirement of 100

named plaintiffs).

       This leaves Plaintiffs with no claim common to a nationwide class. Instead, they have only

state law claims specific to six state subclasses. Plaintiffs thus fail to plead causes of action for

putative class members from the other 44 states, undermining any prospect of a nationwide class.

See Fed. R. Civ. P. 23(b)(3); Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 589-94 (9th Cir.

2012) (rejecting nationwide class that lacked a uniform common claim).

       Second, for Plaintiffs’ nationwide class and all of its subclasses besides California, they

have “made no effort to provide a temporal limit on [the] class definition,” MSP Recovery, 404

F. Supp. 3d at 485. The state law causes of action upon which the class claims are predicated all

are subject to at least some limitations period.6 These classes, as defined, therefore impermissibly



6
  See Rosario v. M.D. Knowlton Co., 767 N.E.2d 1126, 1132 (Mass. App. Ct. 2002) (Mass.: 4-year
limitations period for breach of warranty); Highway Sales, Inc. v. Blue Bird Corp., 559 F.3d 782,
789 n.6 (8th Cir. 2009) (MMWA incorporates the limitations period of the most analogous state
law cause of action); Monteferrante v. Williams-Sonoma, Inc., 241 F. Supp. 3d 264, 270 n.1 (D.
Mass. 2017) (Mass.: 4-year limitations period for unjust enrichment); Kaufman v. Joseph, No. CV
16-11961-NMG, 2017 WL 2407258, at *5 (D. Mass. June 1, 2017) (Mass.: 3-year limitations
period for fraudulent misrepresentation); Cal. Civ. Code § 1783 (Cal.: 3-year limitations period
for CLRA claims); Cal. Bus. & Prof. Code § 17208 (Cal.: 4-year limitations period for claims
under Unfair Competition Law); Lifeway Foods, Inc. v. Millenium Prods., Inc., No. CV 16-7099-
R, 2016 WL 7336721 at *2 (C.D. Cal. Dec. 14, 2016) (Cal.: 3-year limitations period for false
advertising); Mich. Compl. Laws 445.911(9) (“An action under [the Michigan Consumer
Protection Act] shall not be brought more than 6 years after the occurrence of the method, act, or



                                                 19
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 25 of 26




include class members whose claims are time-barred. “A court may strike class allegations that

plainly encompass individuals whose claims are barred by jurisdictional or time limitations.” Id.

at 484 (internal quotation marks omitted). That is the proper result here.

V.     CONCLUSION

       For the foregoing reasons, New Balance respectfully requests that the Court grant the

motion to dismiss and the motion to strike class allegations.

Dated: February 22, 2022                          Respectfully submitted


                                                  /s/ Mark S. Puzella
                                                  Mark S. Puzella (BBO No. 644850)
                                                  mpuzella@orrick.com
                                                  R. David Hosp (BBO No. 634091)
                                                  dhosp@orrick.com
                                                  Sheryl Garko (BBO No. 657735)
                                                  sgarko@orrick.com

                                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                  222 Berkeley Street
                                                  Suite 2000
                                                  Boston, MA 02116-3740
                                                  Telephone: 617.880.1800
                                                  Facsimile: 617.880.1801

                                                  Attorneys for Defendant,
                                                  New Balance Athletics, Inc.



practice that is the subject of the action or more than 1 year after the last payment in a transaction
involving the method, act, or practice that is the subject of the action, whichever period of time
ends at a later date.”); Morse v. Fisher Asset Mgmt., LLC, 206 A.3d 521, 526 (Pa. Super. Ct. 2019)
(Pa.: 6-year limitations period under UTPCPL); Collins v. PJW Servs., LLC, No. A-1437-19, 2021
WL 3136127, at *5 (N.J. Super. Ct. App. Div. July 26, 2021) (NJ: 6-year limitations period for
consumer fraud); Brown v. Nationscredit Fin. Servs. Corp., 32 So. 3d 661, 662 n.1 (Fla. Dist. Ct.
App. 2010) (Fla.: 4-year limitations period for FDUTPA); Wai Chu v. Samsung Elecs. Am., Inc.,
No. 1:18-CV-11742-GHW, 2020 WL 1330662, at *9 (S.D.N.Y. Mar. 23, 2020) (N.Y.: 3-year
limitations         period         for        claims        under          §§       349,         350).




                                                 20
         Case 1:21-cv-12095-AK Document 10 Filed 02/22/22 Page 26 of 26




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 22, 2022 a copy of the foregoing is being filed

electronically through the ECF system. Parties may access this filing through the Court’s system.

                                               /s/ Mark S. Puzella
                                               Mark S. Puzella
